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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               CHICAGO DIVISION

SHANNON E. HALL, as
ADMINISTRATOR OF THE
ESTATE OF ELI GREY HALL,

    Plaintiff,                                       Case No.:
vs.
ABBOTT LABORATORIES,

      Defendant,
___________________________/

                    PLAINTIFF’S COMPLAINT AND JURY DEMAND

       This action arises out of the catastrophic and preventable death of a newborn baby who

died due to a horrific and deadly disease caused and/or substantially contributed to by cow’s-milk-

based infant formula and/or fortifier. Necrotizing Enterocolitis (hereinafter “NEC”) is a deadly

intestinal disease characterized by inflammation and injury of the gut wall barrier that may advance

to necrosis and perforation of the gut. Advanced cases of NEC may lead to surgery and to death.

Significantly higher rates of NEC have been found in premature or preterm babies with low birth

weights who are fed cow’s milk-based formula or fortifier products. The companies who

manufacture these products often intentionally mislabel and misrepresent the contents of the

products both to the public at-large and to the health care community, passing off these deadly

products as something similar to or even superior to human breast milk. Tragically, baby Eli Grey

Hall (hereinafter “Baby Eli”), who was premature at birth, was fed these cow’s milk-based

products, developed NEC, and died shortly thereafter.

       Plaintiff, Shannon E. Hall, as Personal Representative of Baby Eli’s Estate, brings this

cause of action against Defendant for claims arising from the direct and proximate result of

Defendant’s negligent, willful, and wrongful conduct in connection with the design, development,
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manufacture, testing, packaging, promoting, marketing, distribution, labeling, failure to warn,

and/or sale of the Defendant’s cow’s milk-based products (hereinafter “Cow’s milk-based

Formula,” “Cow’s milk-based Fortifier,” or collectively “Cow’s Milk-Based Products”).

                                   GENERAL ALLEGATIONS

        Plaintiff, Shannon E. Hall, as Personal Representative and Administrator of the Estate of

Eli Grey Hall, (hereinafter “Plaintiff”), by and through the undersigned counsel, brings this

Complaint against Defendant Abbott Laboratories, and upon information and belief and based

upon the investigation of counsel to date, would set forth as grounds the following:

                                  JURISDICTION AND VENUE

        1.      This is an action for damages which exceeds the sum of 75,000.00, exclusive of

costs, interest, and attorneys’ fees.

        2.      This Court has jurisdiction over this case pursuant to 28 U.S.C. §1332, as complete

diversity exists between Plaintiff and the Defendants, and the matter in controversy, exclusive of

interest and costs, exceeds the sum or value of $75,000.00.

        3.      This Court has personal jurisdiction over Defendant because Defendant resides in

this District, and is incorporated under the laws of Illinois and is authorized to conduct business

and does conduct business in the State of Illinois. Defendant has marketed, promoted, distributed,

and/or sold its Cow’s Milk-Based Products in the States of Illinois and North Carolina, and

Defendant has sufficient minimum contacts with this state and/or sufficiently avails itself of the

markets in the state through its promotion, sales, distribution, and marketing within this state to

render exercise of jurisdiction by this Court permissible.

        4.      Venue of this action is proper in this Court pursuant to 28 U.S.C. §§1391 (a) and

(b) because a substantial part of the events or omissions giving rise to Plaintiff’s claims occurred



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in this judicial district. Venue is also proper under 18 U.S.C. §1965 (a) because Defendant is

headquartered in this District and transacts substantial business in this District.

                                            PLAINTIFF

       5.      Baby Eli was born prematurely at Wake Forest Baptist Medical Center in Winston

Salem, North Carolina on November 27, 2019. He died on January 7, 2020 after developing NEC.

Baby Eli developed NEC after being fed Similac Milk-Based Products while in the Newborn

Intensive Care Unit (“NICU”) at Wake Forest Baptist Medical Center in Winston Salem, North

Carolina. At all times material hereto, Baby Eli was domiciled in and a citizen of the State of

North Carolina.

       6.      Plaintiff, Shannon E. Hall, the mother of Baby Eli, (hereinafter “Baby Eli’s

Mother”), is domiciled in and a citizen of State of North Carolina, and resides in Forsyth County,

North Carolina. Baby Eli’s Mother is the duly appointed Administrator of Baby Eli’s Estate. Baby

Eli’s Mother brings this action for the wrongful death of Baby Eli, on behalf of the Estate and the

individual survivors thereof.

                                           DEFENDANT

       7.      Defendant, Abbott Laboratories (“Abbott”) was at all times material hereto and is

now a corporation duly organized, incorporated, and existing under the laws of the State of Illinois

with its principal place of business and headquarters in the State of Illinois and is thus a resident,

citizen and domiciliary of Illinois. Abbott manufactures, designs, formulates, prepares, tests,

provides instructions for, markets, labels, packages, sells, and/or places into the stream of

commerce in all fifty states, including Illinois and North Carolina, premature infant formula and

premature infant milk fortifier under the Similac brand name.

       8.      Defendant Abbott advertises that it provides the “#1 Formula Brand, Backed by



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Science” and claims to have “over 90 years of innovations” in infant formula.

                                  FACTUAL ALLEGATIONS

                             The Science and Scope of the Problem

       9.      According to the World Health Organization (“WHO”), babies born prematurely,

or “preterm,” are defined as being born alive before 37 weeks of pregnancy are completed, like

Baby Eli. The WHO estimates that approximately 15 million babies are born preterm every year

and that this number is rising.

       10.     Nutrition for preterm babies, especially those who have a very low birth weight

(under 1500 grams) or extremely low birth weight (under 1000 grams) like Baby Eli, is

significantly important. Since the United States ranks in the top ten countries in the world with

the greatest number of preterm births, the market of infant formula and fortifiers is particularly

vibrant.

       11.     Science and research have advanced in recent years confirming strong links

between cow’s milk-based products and NEC causing and/or substantially contributing to death in

preterm and severely preterm, low-weight infants, along with many other health complications and

long-term risks to these babies. Additionally, advances in science have created alternative

fortifiers that are derived from human milk and non-cow’s milk-based products, however, the

manufacturers of the Cow’s Milk-Based Products continue to promote and sell the Cow’s Milk-

Based Product versions.

       12.     As far back as 1990, a prospective, multicenter study on 926 preterm infants found

that NEC was six to ten times more common in exclusively formula-fed babies than in those fed

breast milk alone and three times more common than in those who received formula plus breast

milk. The study also found that NEC was rare in babies born at more than 30 weeks gestation



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whose diet included breast milk, but was 20 times more common in those fed cow’s milk-based

formula only. A. Lucas, T. Cole, Breast Milk and Neonatal Necrotizing Enterocolitis, LANCET,

336: 1519-1523 (1990) (emphasis added).

       13.     A study published in 2009 evaluated the health benefits of an exclusively human

milk-based diet as compared to a diet with both human milk and cow’s milk-based products in

extremely premature infants. The results show that preterm babies fed an exclusively human milk-

based diet were 90% less likely to develop surgical NEC as compared to a diet that included some

cow’s milk-based products. S. Sullivan, et al, An Exclusively Human Milk-Based Diet Is

Associated with a Lower Rate of Necrotizing Enterocolitis than a Diet of Human Milk and Bovine

Milk-Based Products, JOURNAL OF PEDIATRICS, 156: 562-7 (2010) (emphasis added).

       14.     In 2011, the U.S. Surgeon General published a report titled, “The Surgeon General's

Call to Action to Support Breastfeeding.” In it, the Surgeon General warned that “for vulnerable

premature infants, formula feeding is associated with higher rates of necrotizing enterocolitis

(NEC)." U.S. Dep’t of Health & Human Serv., Off. of Surgeon Gen., “The Surgeon General's Call

to Action to Support Breastfeeding,” p.1, (2011) (emphasis added). This same report stated that

premature infants who are not breast-fed are 138% more likely to develop NEC. Id.

       15.     In 2012, the American Academy of Pediatrics issued a policy statement that all

premature infants should be fed an exclusive human milk diet because of the risk of NEC

associated with the consumption of Cow’s Milk-Based Products. The Academy stated that "[t]he

potent benefits of human milk are such that all preterm infants should receive human milk... If the

mother's own milk is unavailable ...pasteurized donor milk should be used.'' Breastfeeding and the

Use of Human Milk, PEDIATRICS, 129:e827-e84l (2012).

       16.     Further, a study published in 2013 showed that all 104 premature infants



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participating in the study receiving an exclusive human-milk based diet exceeded targeted growth

standards and length and weight and head circumference gain. The authors concluded that "this

study provides data showing that infants can achieve and mostly exceed targeted growth

standards when receiving an exclusive human milk-based diet." A. Hair, et al, Human Milk

Feeding Supports Adequate Growth in Infants ≤1250 Grams Birthweight, BMC RESEARCH NOTES,

6:459 (2013) (emphasis added). Thus, inadequate growth was proven to be a poor excuse for

feeding Cow’s Milk-Based Formula, but the practice has largely continued due to extensive and

aggressive marketing campaigns conducted by infant formula such as the Defendants.

       17.     Another study published in 2013 reported the first randomized trial in extremely

premature infants of exclusive human milk versus preterm cow’s milk-based formula. The study

found a significantly higher rate of surgical NEC in infants receiving the cow’s milk-based

preterm formula and supported the use of exclusive human milk diet to nourish extremely preterm

infants in the NICU. E.A. Cristofalo, et al, Randomized Trial in Extremely Preterm Infants, J

PEDIATR., 163(6):1592-1595 (2013) (emphasis added).

       18.     In another study published in 2014, it was reported that NEC is “a devastating

disease of premature infants and is associated with significant morbidity and mortality. While

the pathogenesis of NEC remains incompletely understood, it is well established that the risk is

increased by the administration of infant formula and decreased by the administration of breast

milk." Misty Good, et al., Evidence Based Feeding Strategies Before and After the Development

of Necrotizing Enterocolitis, EXPERT REV. CLIN. IMMUNOL., 10(7): 875-884 (2014 July) (emphasis

added). The same study found that NEC “is the most frequent and lethal gastrointestinal

disorder affecting preterm infants and is characterized by intestinal barrier disruption leading to

intestinal necrosis, multi-system organ failure and death. Id. The study noted that “NEC affects 7-



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12% of preterm infants weighing less than 1500 grams, and the frequency of disease appears to be

either stable or rising in several studies. Id. The typical patient who develops NEC is a premature

infant who displays a rapid progression from mild feeding intolerance to systemic sepsis, and up

to 30% of infants will die from this disease.” Id. Advances in formula development have made

it possible to prevent necrotizing enterocolitis, and the “exclusive use of human breast milk is

recommended for all preterm infants and is associated with a significant decrease in the incidence

of NEC.” Id.

       19.     In yet another study published in 2014 it was reported that an exclusive human milk

diet, devoid of Cow’s Milk-Based Products, was associated with “lower mortality and morbidity”

in extremely preterm infants without compromising growth and should be considered as an

approach to nutritional care of these infants. Steven Abrams, et al., Greater Mortality and

Morbidity in Extremely Preterm Infants Fed a Diet Containing Cow Milk Protein Products,

BREASTFEEDING MEDICINE, 9(6):281-286 (2014).

       20.     In 2016, a large study supported previous findings that an exclusive human milk

diet in extreme preterm infants dramatically decreased the incidence of both medical and surgical

NEC. This was the first study to compare rates of NEC after a feeding protocol implementation

at multiple institutions and years of follow-up using an exclusive human milk diet. The authors

concluded that the use of an exclusive human milk diet is associated with “significant benefits”

for extremely preterm infants and while evaluating the benefits of using an exclusive human milk-

based protocol, “it appears that there were no feeding-related adverse outcomes.” Hair, et al,

Beyond Necrotizing Enterocolitis Prevention: Improving Outcomes with an Exclusive Human Milk

Based Diet, BREASTFEEDING MEDICINE, 11-2 (2016) (emphasis added).

       21.     A publication by the American Society for Nutrition, in 2017, noted that human



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milk has “been acknowledged as the best source of nutrition for preterm infants and those at risk

for NEC.” The study compared the results from two randomized clinical trials on preterm infants

with severely low weight (between 500 and 1250 grams at birth) and compared the effect of cow’s

milk-based preterm infant formula to human milk as to the rate of NEC. Both trials found that an

exclusive human milk diet resulted in a much lower incidence of NEC. While the study noted

that cow’s milk-based preterm formulas provided consistent calories and were less expensive than

human milk-based products, the cow’s milk-based products significantly increase the risk of

NEC and death. The study also noted the “exponential” health care costs associated with NEC

and noted data from the U.S. from 2011-2012 that showed that the cost of NEC is $180,000 to

$198,000 per infant and nearly doubles to $313,000 per infant for surgically treated NEC. Further,

NEC survivors accrue substantially higher outpatient costs. Jocelyn Shulhan, et al, Current

Knowledge of Necrotizing Enterocolitis in Preterm Infants and the Impact of Different Types of

Enteral Nutrition Products, ASN ADV. NUTR., 8(1):80-91 (2017) (emphasis added).

       22.     The WHO and United Nation’s International Children’s Emergency Fund

(UNICEF) held a meeting more than two decades ago to address concerns over the marketing of

breast-milk substitutes. The WHO Director concluded the meeting with the following statement,

“In my opinion, the campaign against bottle-feed advertising is unbelievably more important

than the fight against smoking advertisement.” Jules Law, The Politics of Breastfeeding:

Assessing Risk, Dividing Labor, JSTOR SIGNS, vol. 25, no. 2: 407-50 (2000) (emphasis added).

       23.     Recognizing the abuse and dangers of the marketing of infant formula, in 1981, the

World Health Assembly (“WHA”), the decision-making body of the world's Member States,

developed the International Code of Marketing of Breast-milk Substitutes (“the Code”), which

required companies to acknowledge the superiority of breast milk and outlawed any advertising or



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promotion of breast milk substitutes to the general public. Pursuant to Article 5.1 of the Code,

advertising of breast-milk substitutes is specifically prohibited: “There should be no advertising

or other form of promotion to the general public [of breast milk substitutes].” (emphasis added).

In Article 5.2, the Code states that “manufacturers and distributors should not provide, directly or

indirectly, to pregnant women, mothers or members of their families, samples of products within

the scope of this Code.” In addition, the Code expressly prohibits, “point-of-sale advertising,

giving of samples, or any other promotion device to induce sales directly to the consumer at the

retail level, such as special displays, discount coupons, premiums, special sales…” See Int’l Code

of Marketing of Breast-Milk Substitutes, May 21, 1981, WHA 34/1981/REC/2, Art.5.3.

       24.     The World Health Organization’s 2018 Status Report on this issue noted that

“despite ample evidence of the benefits of exclusive and continued breastfeeding for children,

women, and society, far too few children are breastfed as recommended.” The Status Report states

that “a major factor undermining efforts to improve breastfeeding rates is continued and

aggressive marketing of breast-milk substitutes,” noting that in 2014, the global sales of breast-

milk substitutes amounted to US $44.8 billion and “is expected to rise to US $70.6 billion by

2019.” Marketing of Breast-milk Substitutes: Nat’l Implementation of the Int’l Code, Status

Report 2018. Geneva: World Health Org., 2018, p.21 (emphasis added).

       25.     Recognizing a shift in the medical community towards an exclusive human based

diet for preterm infants, the Defendants began heavily promoting “human milk fortifiers,” a name

which misleadingly suggests that the product is derived from human milk, instead of being derived

from Cow’s Milk.

       26.     The Defendant has designed competing, systematic, powerful, and misleading

marketing campaigns to persuade physicians and parents to believe that: (1) Cow’s Milk-based



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formula and fortifiers are safe; (2) Cow’s Milk-Based Products are equal, or even superior,

substitutes to breastmilk; and (3) physicians consider their Cow’s Milk-Based Products a first

choice. Similarly, the Defendant markets its products for preterm infants as necessary for growth,

and perfectly safe for preterm infants, despite knowing of the extreme risks posed by Cow’s Milk-

Based Products and failing to warn of the deadly disease of NEC and risk of death.

       27.     Thus, despite the existence of alternative and safe human milk-based fortifiers, the

Defendant continues to market and/or sell the Cow’s Milk-Based Products under the guise of being

a safe product for newborns and despite knowing the significant health risk posed by ingesting

these products, especially to preterm, low weight infants like Baby Eli.

                                   The Inadequate Warnings

       28.     Defendant promotes the use of its preterm infant Cow’s Milk-Based Products to

parents, physicians, hospitals, and medical providers as safe products that are specifically needed

by preterm infants for adequate growth.

       29.     Despite the knowledge of the significant health risks posed to preterm infants

ingesting the Cow’s Milk-Based Products, including the significant risk of NEC and death,

Defendant did not warn parents or medical providers of the risk of NEC in preterm infants, nor did

Defendant provide any instructions or guidance on how to properly use its Cow’s Milk-Based

Products so as to lower the risk or avoid NEC or death.

       30.     In fact, Defendant did not provide any warning in its labeling, websites, or

marketing that warns that its Cow’s Milk-Based Products exponentially increase the risk of NEC

and death in preterm infants, or that human breast milk, donor breast milk, and human breast milk-

based formulas and fortifiers are much safer for preterm babies than its Cow’s Milk-Based

Products.



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                        Baby Eli and the Dangerous, Defective Products

        31.    Baby Eli was born prematurely, at 29 weeks gestation, at Wake Forest Baptist

Medical Center in Winston Salem, North Carolina on November 27, 2019. At birth, Baby Eli

weighed 2 lbs 6.5 oz.

        32.    After he was born, Baby Eli was sent to the NICU at Wake Forest Baptist Medical

Center in Winston Salem, North Carolina.

        33.    Following his birth, Eli’s mother successfully pumped her own breast milk for her

baby’s nutrition. The NICU also supplemented Eli’s mother’s breast milk with donor breast milk

when necessary to feed Eli.

        34.    Baby Eli’s initial nutrition plan consisted of three milliliters of his mother’s breast

milk/donor breast milk every 3 hours.

        35.    On December 9, 2019, Baby Eli’s nutrition plan was increased to 11 milliliters of

his mother’s breast milk/donor breast milk every 3 hours, with an additional increase of one

milliliter every 12 hours.

        36.    Starting on December 9, 2020, human milk fortifier was also added to the mother’s

breast milk/donor breast milk Baby Eli was ingesting.

        37.    On December 20, 2019, Similac Special Care formula was added to supplement

Baby Eli’s regular ingestion of his mother’s breast milk/donor breast milk and human milk

fortifier.

        38.    Baby Eli was fed Similac Special Care 30 calorie formula every three to four hours.

        39.    Baby Eli was fed Similac Special Care along with his mother’s breast milk/donor

breast milk and human milk fortifier until January 6, 2020.

        40.    Between December 20, 2019 and January 6, 2020, Similac Special Care formula



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made up roughly half of Baby Eli’s diet.

       41.        On January 6, 2020, Baby Eli was noted to be tachycardic and pale, with abdominal

distension.

       42.        The evaluating Pediatric Surgeon noted “This picture is worrisome for necrotizing

enterocolitis.”

       43.        On January 6, 2020, Baby Eli developed severe metabolic acidosis with a presumed

diagnosis of NEC.

       44.        On January 7, 2020, Baby Eli was scheduled for a laparotomy after he was

diagnosed with Stage III NEC.

       45.        The surgical procedure was discontinued as a result of Baby Eli’s fragile state.

       46.        Shortly thereafter, Baby Eli tragically died due to NEC on January 7, 2020.

       47.        At the time of his death, Baby Eli’s parents were unaware of the fact that the

Defendants’ Cow’s Milk-Based Products Eli was fed caused or substantially contributed to his

development of NEC and ultimately to his death.

                                  COUNT I: STRICT LIABILITY
                                      DESIGN DEFECT

       48.        Plaintiff incorporate by reference each of the preceding paragraphs as if fully set

forth herein.

       49.        At all times material to this action, Defendant Abbott was engaged in the sale,

and/or marketing and/or design, and/or manufacture, and/or distribution of Cow’s Milk-Based

Products, which are defectively designed and/or unreasonably dangerous to consumers, including

Baby Eli.

       50.        Defendant Abbott, as a manufacturer, has a duty to hold the knowledge and skill of

an expert and is obliged to keep abreast of any scientific discoveries and are presumed to know


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the result of all such advances.

        51.    At all times material to this action, the Cow’s Milk-Based Products manufactured,

distributed and/or sold by Defendant Abbott, were in a defective and/or unreasonably dangerous

condition at the time the products were placed in the stream of commerce for nutritional use for

preterm infants.

        52.    Defendant Abbott specifically marketed and created its Cow’s Milk-Based

Products for use as nutrition and nutritional supplements for preterm infants, like Baby Eli.

        53.    Defendant Abbott’s Cow’s Milk-Based Products are expected to and do reach the

user without substantial change affecting that defective and/or unreasonably dangerous condition.

        54.    Prior to December 2019, Defendant Abbott was aware or should have been aware

that its Cow’s Milk-Based Products were not safe for use, as they were used, with nutrition or

nutritional support in preterm infants, yet took no steps to prevent the use of these products in such

situations.

        55.    Defendant Abbott knew or should have known that the use of its Cow’s Milk-Based

Products with preterm infants was unreasonably dangerous in that its Cow’s Milk-Based Products

significantly increased the risk of NEC and death.

        56.    Furthermore, scientific data and well-researched studies have concluded that the

Cow’s Milk-Based Products of the Defendant carried unreasonable risks of NEC and death, which

far outweighed the products’ benefits for preterm infants like Baby Eli.

        57.    Despite the foregoing, the Defendant continued to sell and market its defective

and/or unreasonably dangerous products to preterm infants.

        58.    The products were defectively manufactured and/or designed and/or unreasonably

dangerous, including, but not limited to the following particulars:



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       a.      The products did not perform as safely as an ordinary consumer would expect when

               used in the intended or reasonably foreseeable manner, such that the use of Cow’s

               Milk-Based Products as nutrition or nutritional supplements in preterm infants

               significantly increased the risk of NEC and death;

       b.      The products contained hidden and dangerous design defects and were not

               reasonably safe as intended to be used, subjecting preterm infants, such as Baby

               Eli, to risks of serious bodily injury and death;

       c.      The products failed to meet legitimate, commonly held, minimum safety

               expectations of that product when used in an intended or reasonably foreseeable

               manner;

       d.      Defendant failed to utilize economical and technically available safer design

               alternatives for preterm infant formula and fortifiers;

       e.      The products were manifestly unreasonable in that the risk of harm so clearly

               exceeded the products’ utility that a reasonable consumer, informed of those risks

               and utility, would not purchase the product;

       f.      Defendant failed to adopt an adequate or sufficient quality control program; and/or

       g.      Defendant failed to inspect or test its products with sufficient care.

       59.     As a direct and proximate cause of the Cow’s Milk-Based Product’s unreasonable

dangerous condition, Baby Eli suffered serious bodily injury, which resulted in his death.

       WHEREFORE, Plaintiff, by and through undersigned counsel, demands judgment against

Defendant Abbott Laboratories for all applicable wrongful death damages, costs of this action,

post-judgment interest, and trial by jury.




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                                   COUNT II: NEGLIGENCE

       60.      Plaintiff incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

       61.      Defendant Abbott, as the manufacturer and/or seller of Cow’s Milk-Based

Products, owed a duty to the consuming public in general, and Plaintiff in particular, to exercise

reasonable care to design, test, manufacture, inspect, and distribute products free of unreasonable

risk of harm to users and patients, when said product is used in its intended manner.

       62.      Defendant Abbott, as a manufacturer, has a duty to hold the knowledge and skill of

an expert, and is obliged to keep abreast of any scientific discoveries and are presumed to know

the result of all such advances.

       63.      Defendant Abbott, directly or indirectly, negligently, and/or defectively made,

created, manufactured, designed, assembled, tested, marketed and/or sold the subject Cow’s Milk-

Based Products.

       64.      Defendant breached the duty owed to Plaintiff and acted negligently in its actions,

including, but not limited to, the following:

       a.       Designed the products such that there are latent and not obvious dangers for

                consumers and patients while the products are being used in a foreseeable and

                intended manner;

       b.       The products contained hidden and dangerous design defects and were not

                reasonably safe as intended to be used, subjecting preterm infants to risks of serious

                bodily injury and death in that the products’ design and/or manufacture amounted

                to and/or resulted in a defect failure mode of the products;

       c.       Failing to collect data to determine if its products were safe for preterm infants;



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       d.      Failing to collect data to determine when and how its products could be used safely;

       e.      Failing to utilize the significant peer reviewed research to develop instructions;

       f.      Failing to develop evidence-based guidelines or instructions to decrease the risk of

               its products causing NEC and death;

       g.      Failing to provide evidence-based guidelines or instructions to decrease the risk of

               its products causing NEC and death;

       h.      Failing to stop or deter its products from being fed to extremely preterm infants like

               Baby Eli;

       i.      Failing to provide evidence-based instructions or guidance on when or how a

               preterm infant should be transitioned to the products;

       j.      Failing to continuously and vigorously study its cow’s milk-based products in order

               to avoid NEC and death in premature infants;

       k.      Failing to utilize economical and technically available safer manufacturing and/or

               design alternatives for the preterm infant formula and fortifier;

       l.      Failing to adopt an adequate or sufficient quality control program; and/or

       m.      Failing to inspect or test its products with sufficient care.

       65.     Defendant Abbott knew or should have known that its products were to be used as

nutrition and nutritional supplements with preterm infants, like Baby Eli.

       66.     Defendant Abbott knew or should have known that the use of its Cow’s Milk-Based

Products with preterm infants was unreasonably dangerous in that its Cow’s Milk-Based Products

significantly increased the risk of NEC and death.

       67.     Furthermore, scientific data and well researched studies have concluded that the

Cow’s Milk-Based Products of the Defendant carried unreasonable risks of NEC and death, which



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far outweighed the products’ benefits for premature infants like Baby Eli.

       68.      As a direct and proximate result of the negligence of Defendant Abbott, Baby Eli

suffered serious bodily injury, which resulted in his death.

       WHEREFORE, Plaintiff, by and through undersigned counsel, demands judgment against

Defendant Abbott Laboratories for all applicable wrongful death damages, costs of this action,

post-judgment interest, and trial by jury.

                                COUNT III: STRICT LIABILITY
                                    FAILURE TO WARN

       69.      Plaintiff incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

       70.      Defendant Abbott, as the manufacturer and/or seller of Cow’s Milk-Based

Products, owed a duty to the consuming public in general, and Plaintiff in particular, to properly

warn and provide adequate warnings or instructions about the dangers and risks associated with

the use of Cow’s Milk-Based Products with preterm infants, specifically including but not limited

to the risk of NEC and death.

       71.      Defendant Abbott, as the manufacturer and/or seller of Cow’s Milk Product, was

unreasonable in relying upon any intermediary, including physicians, other health care providers

or health care staff, to fully warn the end user of the hidden dangers and risks in its Cow’s Milk-

Based Products, as the magnitude of the risk involved is using Defendant’s Cow’s Milk-Based

Products with preterm infants is significant and involves the real danger of serious bodily injury

and death.

       72.      Defendant Abbott, as the manufacturer and/or seller of Cow’s Milk Products, owed

a duty to fully warn and instruct any intermediary, including physicians, other health care providers

or health care staff, of the significant dangers of its Cow’s Milk-Based Products.


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       73.     Defendant owed a duty to provide warnings and instructions on its Cow’s Milk-

Based Products marketed and/or sold for use with preterm infants that adequately communicated

information on the dangers and safe use of the product to health care providers and staff using

these products in a NICU, taking into account the characteristics of, and the ordinary knowledge

common to, such prescribing health care providers and administering health care staff and to

specifically warn of the risks and danger associated with the use of Cow’s Milk-Based Products

with preterm infants, specifically including but not limited to the risk of NEC and death.

       74.     Rather than provide adequate warnings, Defendant Abbott developed relationships

which included incentives and financial gain to health care providers and facilities for using its

Cow’s Milk-Based Products within the NICU, such that health care providers and facilities had an

incentive to withhold any instructions and/or warnings from the end user.

       75.     In addition and/or in the alternative, if healthcare providers and health care staff

had been properly instructed and warned of the risks associated with the use of Cow’s Milk-Based

Products with preterm infants, they would have not used such a dangerous product.

       76.     Defendant Abbott, as a manufacturer, has a duty to hold the knowledge and skill of

an expert and is obliged to keep abreast of any scientific discoveries and are presumed to know

the result of all such advances.

       77.     Defendant Abbott, through its own testing and studies, consultants and experts,

and/or knowledge of the scientific literature, as more specifically set forth in The Science and

Scope of the Problem Section knew of the significant risk of NEC with preterm infants and death.

       78.     Defendant Abbott, through its knowledge, review, and survey of the scientific

literature, as detailed in The Science and Scope of the Problem Section, knew that the use of

Cow’s Milk-Based Products with preterm infants could cause severe injury, including but not



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limited to NEC and death.

       79.        Defendant Abbott breached the foregoing duties and failed to provide proper

warnings and/or instructions of its Cow’s Milk-Based Products, including but not limited to the

following acts:

       a.         Providing no warnings regarding the risk of NEC and death;

       b.         Providing inadequate labeling that failed to warn of the risks of use of Cow’s Milk-

                  Based Products with preterm infants, including but not limited to NEC;

       c.         Failed to provide proper instructions or guidelines or studies, or data on when and

                  how to feed its products to preterm infants in order to decrease the risk of NEC

                  and/or death;

       d.         Failed to insert a warning or instruction that parents needed to be provided an

                  informed choice between the safety of human milk versus the dangers of the

                  Defendant's Cow’s Milk Product;

       e.         Failed to provide instructions to consumers and health care providers that the

                  Defendant's products carried a significant risk that its Cow’s Milk-Based Products

                  exponentially increased their baby’s risk of developing NEC and death;

       f.         The warnings and instructions are severely inadequate, vague, confusing, and

                  provide a false sense of security in that they warn and instruct on certain conditions,

                  but do not warn that the use of Cow’s Milk-Based Products significantly increasing

                  the risk of NEC and death, and they fail to provide any details on how to avoid such

                  harm;




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       g.      Failed to contain a large and prominent "black box" type warning that its Cow’s

               Milk-Based Products are known to significantly increase the risk of NEC and death

               when compared to Human Milk in preterm infants;

       h.      Failed to provide well researched and well-established studies that linked its Cow’s

               Milk-Based Products to NEC and death in preterm infants;

       i.      Failed to cite to or utilize current up-to-date medical data on the proper and safe

               use of its products;

       j.      Failed to otherwise warn physicians, and healthcare providers of the extreme risks

               associated with feeding preterm infants Cow’s Milk-Based Products;

       k.      Failed to send out "Dear Dr." letters warning of the risks of NEC and death and the

               current scientific research and data to better guide the hospitals and physicians to

               better care for the extremely preterm infants;

       l.      Failed to advise physicians and healthcare providers that Cow’s Milk-Based

               Products are not necessary to achieve growth and nutritional targets for preterm

               infants; and/or

       m.      Failed to contain sufficient instructions and warnings on the Cow’s Milk-Based

               Products such that health care providers and health care staff were not properly

               warned of the dangers of NEC with use of Cow’s Milk-Based Products and preterm

               infants.

       80.     As a direct and proximate result of Defendant Abbott’s failure to warn, Baby Eli

suffered serious bodily injury, which resulted in his death.




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       WHEREFORE, Plaintiff, by and through undersigned counsel, demands judgment against

Defendant Abbott Laboratories for all applicable wrongful death damages, costs of this action,

post-judgment interest, and trial by jury.

                                     PRAYER FOR RELIEF

               WHEREFORE, Plaintiff prays for judgment as follows:

        1.      For compensatory damages in an amount to be proven at trial;

        2.      For damages for past, present, and future emotional distress, loss of enjoyment

 of life, pain and suffering, mental anguish, loss of consortium, and other non-economic losses

 sustained as a result of Defendants’ conduct;

        3.      For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

 and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs related to

 medical or mental health treatment which have or may be recommended;

        4.      For interest as permitted by law;

        5.      For attorney’s fees, expenses, and recoverable costs incurred in connection with

 this action; and

        6.      For such other and further relief as the Court deems proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby requests a trial by jury on all issues triable by jury.

                                               Respectfully submitted,

                                               /s/ Charles Andrew Childers
                                               Charles Andrew Childers
                                               Of Counsel
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